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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                         No. 4:16-CR-00006-2

     v.                                           (Chief Judge Brann)

ANTOINE PARIS DAVIS,

          Defendant.

                                   ORDER

                             NOVEMBER 5, 2021

    In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that:

    1.    Davis’ 28 U.S.C. § 2255 motion (Doc. 208) is DENIED;

    2.    Davis’ motion to appoint counsel (Doc. 230) is DENIED as moot; and

    3.    The Court declines to issue a certificate of appealability.



                                           BY THE COURT:


                                           s/ Matthew W. Brann
                                           Matthew W. Brann
                                           Chief United States District Judge
